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|N THE UN|TED STATES D|STF{|CT COURT n
FOR THE WESTERN DlSTR|CT OF TENNE§§§\E§ -l P’l='l lzi Jl-
WESTERN D|VlSlON

 

 

UN|TED STATES OF AMEF{|CA
P|aintiff

VS.
CR. NO. 03-20395-B

DAV|D EARL FFlANKL|N,

Defendant.

 

ORDEFI ON CONTINUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
report date of Nlonday, September 26l 2005l at 9:30 a.m., in Courtroom 1, 11th Floor
of the Federa| Bui|ding, lV|emphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need fosr‘a speedy tria|.

|T |S SO ORDEHED this / day Of , 2005.

 

J. D NIEL BREEN \
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UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 82 in
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Honorable J. Breen
US DISTRICT COURT

